Case 2:11-cv-00670-AG-RNB Document 24 Filed 03/07/11 Page 1 of 10 Page ID #:566



1    EAGAN AVENATTI, LLP
     Michael Q. Eagan, Bar No. 63479
2    mqe@eoalaw.com
     Michael J. Avenatti, Bar No. 206929
3    mavenatti@eoalaw.com
     450 Newport Center Drive, Second Floor
4    Newport Beach, CA 92660
     Tel: (949) 706-7000
5    Fax: (949) 706-7050
6    Attorneys for Defendants
7
8                             UNITED STATES DISTRICT COURT
9          CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
10

11   BRIAN CASSERLY, on behalf of himself         Case No. SACV 11-00670 AJG
     and all others similarly situated
12                                                ASSIGNED FOR ALL PURPOSES TO:
13               Plaintiff,                       Hon. Andrew J. Guilford

14               vs.                              CLASS ACTION
15                                                DEFENDANTS’ REPLY BRIEF IN
   POWER BALANCE, LLC; JOSH                       SUPPORT OF THE MOTION TO
16
   RODARMEL; TONY RODARMEL;                       STAY THIS ACTION PENDING
   KEITH KATO; SHAQUILLE O’NEAL                   COURT CONSIDERATION OF THE
17 and LAMAR ODOM,                                NATIONWIDE CLASS SETTLEMENT
                                                  OR, ALTERNATELY, THE JUDICIAL
18               Defendants.                      PANEL ON MULTIDISTRICT
                                                  LITIGATION’S RULING ON THE
19                                                PENDING MOTIONS TO TRANSFER
20                                                Hearing Date:     March 21, 2011
                                                  Hearing Time:     10:00 a.m.
21
                                                  Complaint Filed: January 21, 2011
22                                                Trial Date:      None set
23

24

25

26

27

28


                       DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION TO STAY
Case 2:11-cv-00670-AG-RNB Document 24 Filed 03/07/11 Page 2 of 10 Page ID #:567



1                                        REPLY BRIEF
2    1.    Introduction
3          Defendants Power Balance, LLC, Josh Rodarmel, Tony Rodarmel, Keith Kato,
4    Shaquille O’Neal, and Lamar Odom (collectively, “Power Balance” or “Defendants”),
5    respectfully submit this reply brief in further support of the Motion to Stay this Action
6    Pending Court Consideration of the Nationwide Class Settlement or, Alternately, the
7    Judicial Panel on Multidistrict Litigation’s (“JPML”) Ruling on the Pending Motions to
8    Transfer (“Motion”). As set forth in Power Balance’s moving papers, on February 4,
9    2011, Defendants Power Balance LLC, Troy John Rodarmel, Josh Rodarmel, and Keith
10   Kato participated in a mediation before Justice John Trotter (Ret.) in the putative class
11   action Batungbacal v. Power Balance LLC, No. SACV11-00018 (C.D. Cal. 2011)
12   (“Batungbacal Action”). The Batungbacal Action is pending before Judge Cormac J.
13   Carney of this Court. After that mediation and the days that followed, the parties
14   reached a tentative class wide settlement regarding the claims asserted in that action.
15   The parties are presently finalizing documentation relating to the settlement and expect
16   to submit documents relating to the settlement to the court in the Batungbacal action
17   very soon.
18         Plaintiff’s opposition to this Motion does not dispute that the Batungbacal Action
19   raises essentially identical claims to those raised in this action and is also brought on
20   behalf of a putative nationwide class.      Accordingly, in order to promote judicial
21   economy, the convenience of the parties, and to eliminate potentially duplicative efforts,
22   a stay of this action is appropriate pending Court consideration of the class wide
23   settlement in the Batungbacal Action.
24         Alternately, as argued in Power Balance’s Motion, this action should be stayed
25   pending the JPML’s ruling on the pending motions to transfer.           If granted, these
26   motions would transfer this action and consolidate numerous similar actions pending
27   nationwide for pretrial and discovery purposes. Plaintiff in this action has previously
28   taken the position that consolidation and transfer is appropriate in light of the factual

                                               1
                     DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION TO STAY
Case 2:11-cv-00670-AG-RNB Document 24 Filed 03/07/11 Page 3 of 10 Page ID #:568



1    similarities between the various actions. Further, the majority of courts to consider the
2    issue have determined that a stay pending ruling from the JPML on a pending motion to
3    transfer is in the interest of judicial economy and serves the policies underlying the
4    MDL proceedings. Thus, as discussed in more detail below, and in light of prior
5    position, a stay in this action is warranted.
6

7    2.    Stay Pending A Decision On The Pending Motions To Transfer Is In The
8          Interest Of Judicial Economy And In Accordance With Plaintiff’s Request
9          That This And Other Actions Be Consolidated And Transferred
10         As established in Power Balance’s opening brief, “a majority of courts have
11   concluded that it is often appropriate to stay preliminary pretrial proceedings while a
12   motion to transfer and consolidate is pending with the MDL Panel because of the
13   judicial resources that are conserved.” Rivers v. Walt Disney Co., 980 F. Supp. 1358,
14   1362 (C.D. Cal. 1997). Indeed, Plaintiff in this action has already taken the position
15   that consolidation and transfer pursuant to the MDL procedures is appropriate. In
16   keeping with Plaintiff’s position regarding the pending motions to transfer, concerns of
17   judicial economy and the weight of authority dictate that this action should be stayed
18   pending resolution of the motions to transfer by the JPML.
19         As one court has noted, “[t]here is simply no reason for this Court to expend its
20   time and energy on these cases until the pending motion before the MDL Panel is
21   resolved. … Duplication of case management tasks by multiple courts is not an
22   economical use of judicial resources.” Fuller v. AmeriGas Propane, Inc., Nos. C 09-
23   2493 TEH & 09-2616 TEH, 2009 U.S. Dist. LEXIS 71413, at *5-6 (N.D. Cal. Aug. 3,
24   2009). Plaintiff’s own position regarding the JPML proceedings and this action is
25   therefore curious at best. As noted in Power Balance’s moving papers and above,
26   Plaintiff in this action has already filed a brief supporting consolidation and transfer to
27   this District because of the similarity between the various Power Balance actions. [See
28   Avenatti Decl. Ex. 18] In other words, it is Plaintiff’s position that this action would

                                                2
                      DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION TO STAY
Case 2:11-cv-00670-AG-RNB Document 24 Filed 03/07/11 Page 4 of 10 Page ID #:569



1    benefit from consolidation with other actions and uniform pretrial procedures.
2          Nevertheless, Plaintiff argues in opposition to this Motion that this action is
3    different from the other related actions by virtue of the fact that Plaintiff has also named
4    Lamar Odom and Shaquille O’Neal as defendants in this action. The two positions are
5    in obvious tension. Having previously taken the position that this action would benefit
6    from consolidation and coordinated pretrial proceedings, Plaintiff now takes the
7    position that this action should proceed separately and on a different track than the other
8    actions, thus potentially duplicating actions and resulting in unnecessary work both for
9    the parties and the Court.
10         Unfortunately for Plaintiff, the weight of authority is not in his favor. See Wright
11   et al., 15 Fed. Pract. & Proc. Juris. § 3866.1; Rivers, 980 F. Supp. at 1362; Good v.
12   Altria Group, Inc., 624 F. Supp. 2d 132, 136 (D. Me. 2009); see also Barnes v. Equinox
13   Group, Inc., No. C 10-03586 LB, 2010 U.S. Dist. LEXIS 138863, at *4-10 (N.D. Cal.
14   Dec. 30, 2010); Cottle-Banks v. Cox Communs., Inc., No. 10cv2133 BTM(WVG),
15   2010 U.S. Dist. LEXIS 138195, at *2 (S.D. Cal. Dec. 30, 2010); Fuller, 2009 U.S. Dist.
16   LEXIS 71413, at *4-6; Santillan v. Merck & Co., No. 06-CV-01996-JM(RBB), 2006
17   U.S. Dist. LEXIS 96873, at *2-4 (S.D. Cal. Dec. 11, 2006). Equally importantly, none
18   of the cases cited by Plaintiff compel, let alone even suggest, that a different result
19   should be reached here.
20         For example, Plaintiff cites the decision in Falk v. GMC for the proposition that a
21   stay should be denied in this action. Plaintiff, however, neglects to mention that the
22   basis for the denial of the stay in the Falk action was that the action was “too far
23   advanced to bring everything to a halt.” Falk v. GMC, No. C 07-01731 WHA, 2007
24   U.S. Dist. LEXIS 80864, at *10 (N.D. Cal. Oct. 22, 2007). Indeed, in that action, class
25   certification briefing was due in approximately two months and a trial date had been set.
26   Id. Here, no such considerations weigh against staying this action as discovery has not
27   even begun.
28         Similarly, the Luce action, relied on by Plaintiff, involved circumstances that are

                                               3
                     DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION TO STAY
Case 2:11-cv-00670-AG-RNB Document 24 Filed 03/07/11 Page 5 of 10 Page ID #:570



1    simply not present in this action. There, the court denied the motion to stay in order to
2    consider a pending motion to remand the action to state court. See Luce v. A. W.
3    Chesteron Co., No. C-10-0174 MMC, 2010 U.S. Dist. LEXIS 28920 (N.D. Cal. Mar. 2,
4    2010) (Noting that “the only matter pending before the Court is plaintiffs' motion to
5    remand” and that “the issue before the Court is, in effect, whether this Court should
6    consider the merits of plaintiffs' motion for remand, presently set for hearing … or,
7    instead, stay the instant action” and let the transferee court address the motion.). Thus,
8    the court denied the motion to stay in order to consider the merits of the motion to
9    remand which, if granted, would have disposed of the action entirely. No such motion
10   is pending before this Court.
11         Campbell v. PriceWaterhouse Coopers, LLP, also relied upon by Plaintiff, did not
12   involve pending motions to transfer before the JPML at all. No. CIV. S-06-2376
13   LKK/GGH, 2008 U.S. Dist. LEXIS 44795 (E.D. Cal. June 4, 2008).
14         Finally, Plaintiff relies on the Jozwiak v. Stryker Corp., for the proposition that a
15   stay should be denied because of the fact that Plaintiff has named Lamar Odom and
16   Shaquille O’Neal as defendants in this action. However, in the Jozwiak action, the
17   court was concerned with the potential prejudice to the additional defendants because
18   they may not have been properly named. No. 6:09-cv-1985, 2010 U.S. Dist. LEXIS
19   8103, at *7 (M.D. Fla. Jan. 11, 2010). Presumably it is not Plaintiff’s argument that
20   Defendants Odom and O’Neal should be dismissed from this action and that therefore
21   their interests may be prejudiced by a stay. Indeed, were this action to be consolidated
22   and transferred, it would be as to all Defendants, including Defendants O’Neal and
23   Odom. There is no provision for the consolidation and transfer of only part of an action
24   and no such request has been made. Nor has Plaintiff taken the position that transfer
25   and consolidation is inappropriate because of the involvement of Defendants O’Neal
26   and Odom. On the contrary, Plaintiff supports the consolidation and transfer of this
27   action. Consequently, the Jozwiak decision has no bearing on this action or Motion.
28         Accordingly, a stay in this action pending JPML ruling on the pending motions to

                                               4
                     DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION TO STAY
Case 2:11-cv-00670-AG-RNB Document 24 Filed 03/07/11 Page 6 of 10 Page ID #:571



1    transfer is warranted.
2
3    3.    Plaintiff’s Arguments Regarding The Settlement In The Batungbacal Action
4          Should Be Raised In That Action And Not Here
5          As established in Power Balance’s opening brief, “[a] trial court may, with
6    propriety, find it is efficient for its own docket and the fairest course for the parties to
7    enter a stay of an action before it, pending resolution of independent proceedings which
8    bear upon the case.” Leyva v. Certified Grocers of California, Ltd., 593 F.2d 857, 863
9    (9th Cir. 1979). Importantly, Plaintiff does not dispute the fundamental basis for
10   Power Balance’s Motion, namely, that the Casserly and Batungbacal Actions raise
11   essentially identical claims and that, if the settlement in the Batungbacal Action is
12   approved, it will resolve this action. See Valerio v. Boise Cascade Corp., 80 F.R.D.
13   626, 649 (N.D. Cal. 1978) (“Indeed, if any distinction between class actions and non
14   class actions is warranted, one might well argue for more liberal application of res
15   judicata based upon a class action settlement wherein the requirement of court approval
16   prevents the overreaching that might otherwise occur.”). On these facts, a brief stay
17   pending Court consideration of the settlement in the Batungbacal Action is appropriate.
18   As the Ninth Circuit has noted “[i]t hardly seems necessary to point out that there is an
19   overriding public interest in settling and quieting litigation” and “[t]his is particularly
20   true in class action suits which are now an ever increasing burden to so many federal
21   courts and which frequently present serious problems of management and expense.”
22   Van Bronkhorst v. Safeco Corp., 529 F.2d 943, 950 (9th Cir. 1976). Indeed, since the
23   filing of this Motion, two other actions have been stayed pending either Court
24   consideration of the settlement in the Batungbacal Action or the JPML’s decision on
25   the pending motions to transfer. [See Suppl. Avenatti Decl. Exs. C-D (Court orders in
26   the Davidson and Bowlin actions)]
27         Plaintiff’s primary argument against a stay pending Court consideration of the
28   Batungbacal settlement is based upon Plaintiff’s objections to the settlement terms.

                                               5
                     DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION TO STAY
Case 2:11-cv-00670-AG-RNB Document 24 Filed 03/07/11 Page 7 of 10 Page ID #:572



1    Whatever objection Plaintiff may have with the terms of the settlement agreement,
2    those objections must be raised in the context of Court consideration of the settlement in
3    the Batungbacal Action. This is not the proper forum for hearing Plaintiff’s objections.
4    Indeed, the Federal Rules of Civil Procedure provide that Plaintiff may object to the
5    settlement in the Batungbacal Action. See Fed. R. Civ. P. 23(e)(5) (“Any class member
6    may object to the proposal if it requires court approval under this subdivision (e)…”).
7    Accordingly, it is respectfully submitted that the only consideration relevant to this
8    Motion is whether in the interest of efficiency and other considerations discussed in
9    Power Balance’s Motion, this Court chooses to exercises its discretion to enter a brief
10   stay in this action pending Court consideration of the pending settlement in the
11   Batungbacal Action.
12          Accordingly, in light of the undisputed overlap between the actions and the fact
13   that this action is one of approximately fifteen (15) separately pending federal actions,
14   Power Balance respectfully submits that a stay pending court consideration of the
15   Batungbacal Action is warranted. See Stark v. Wickard, 321 U.S. 288, 310; 64 S. Ct.
16   559; 88 L. Ed. 733 (1944) (Noting that “[i]f numerous parallel cases are filed, the courts
17   have ample authority to stay … litigation until the determination of a test case.”);
18   Landis v. North American. Co., 299 U.S. 248, 254; 57 S. Ct. 163; 81 L. Ed. 153 (1936)
19   (“[T]he power to stay proceedings is incidental to the power inherent in every court to
20   control the disposition of the causes on its docket with economy of time and effort for
21   itself, for counsel, and for litigants.”).
22

23   4.     Plaintiff Had No Interest In Engaging In Meet And Confer Efforts And
24          Raises The Issue Now Solely To Prejudice Defendant
25          Plaintiff argues that Power Balance failed to adequately engage in meet and
26   confer efforts prior to filing the motion presently under consideration.       As Power
27   Balance’s Motion made clear, the parties in the Batungbacal Action did not engage in
28   mediation efforts until February 4, 2011. [Avenatti Decl. ¶ 5] Further, a tentative

                                                 6
                       DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION TO STAY
Case 2:11-cv-00670-AG-RNB Document 24 Filed 03/07/11 Page 8 of 10 Page ID #:573



1    settlement was not reached until after the mediation itself and through continued
2    negotiations in the days that followed the February 4 mediation. [Id. ¶¶ 5-6] Thus, in
3    light of Power Balance’s deadline of February 16, 2011, for responding to the
4    Complaint, strict compliance with the timetable for meet and confer discussions under
5    the Local Rules was impossible as by the time Power Balance was aware of the basis
6    for the Motion, there were less than ten (10) days remaining before Power Balance’s
7    response was due.
8          Additionally, as detailed in Power Balance’s Motion, Power Balance did attempt
9    to contact Plaintiff and engage in meet and confer discussions prior to filing this
10   Motion. [Id. ¶ 12] Under these circumstances, and without seeking to diminish the
11   importance of the Local Rules, strict compliance with the Local Rules may be excused.
12   See Fitzgerald v. City of Los Angeles, 485 F. Supp. 2d 1137, 1140 (C.D. Cal. 2007)
13   (Excusing failure to meet and confer within the time limits imposed by the Local Rules
14   because the moving party did not learn of the violation that gave rise to the motion
15   within the period of time imagined by the Rules); see also So v. Land Base, LLC, CV
16   08-03336 DDP, 2009 U.S. Dist. LEXIS 43093, at *5 (C.D. Cal. May 8, 2009)
17   (Excusing the moving party for its failure to comply with the strict letter of the Local
18   Rules because “the Court is satisfied with Plaintiff's explanation for why that
19   conference was not possible”); Superbalife, Int'l v. Powerpay, No. CV 08-5099, 2008
20   U.S. Dist. LEXIS 89204, at *5 (C.D. Cal. Oct. 7, 2008) (Stating that the court “is well-
21   aware that strict deadlines cannot always be adhered to” and faulting the moving party
22   because it failed to make any effort at all); Resonance Tech., Inc. v. Koninklijke Philips
23   Elecs. N.V., No. CV 08-2580 PSG, 2008 U.S. Dist. LEXIS 79497, at *3 (C.D. Cal.
24   Sept. 17, 2008) (Deciding the merits of the motion even though there was a dispute over
25   whether the moving party met and conferred in a timely fashion); Del Amo v. Baccash,
26   No. CV 07-663-PSG, 2008 U.S. Dist. LEXIS 110489, at *7 (C.D. Cal. Sept. 16, 2008)
27   (Excusing the moving party’s failure to meet and confer on every issue because there
28   was no evidence of bad faith on the moving party’s part.).

                                               7
                     DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION TO STAY
Case 2:11-cv-00670-AG-RNB Document 24 Filed 03/07/11 Page 9 of 10 Page ID #:574



1          Notably absent from Plaintiff’s argument regarding Power Balance’s meet and
2    confer efforts is a discussion of the fact that Power Balance did reach counsel for
3    Plaintiff, D. Greg Blankenship, on February 17, 2011 and attempted to engage in further
4    meet and confer discussions. Plaintiff tried to raise the possibility of a stipulation that
5    would avoid the necessity of a hearing on this Motion. Counsel for Plaintiff expressed
6    no interest in engaging in meet and confer discussions, stating instead that he saw no
7    reason to discuss the possibility of reaching any agreement on a motion that had already
8    been filed. [Suppl. Avenatti Decl. ¶ 2] In so stating, Plaintiff revealed that the purpose
9    behind his objection is to elevate form over substance and Plaintiff’s argument is not
10   made out of any desire to engage in meet and confer discussions or avoid the necessity
11   of motion practice, but simply to disadvantage Power Balance. In fact, in other related
12   actions Power Balance has managed to avoid the necessity of motion practice even after
13   filing a formal motion to stay.
14         For example, in the action Joon Khang v. Power Balance, LLC, No. SACV 11-
15   00145 CJC (MGLx) (C.D. Cal. 2011), a virtually identical class action [Avenatti Decl.
16   Ex. 7 (Khang Complaint)], Power Balance filed a motion to stay, but was later able to
17   negotiate and agree to a stipulation with Plaintiff’s counsel that allowed Power Balance
18   to withdraw its motion and avoid unnecessary motion practice. [See Suppl. Avenatti
19   Decl. Exs. A-B (Joint Stipulation and Notice of Withdrawal)] By contrast, Plaintiff in
20   this action refused to engage in such discussions and nevertheless seeks to use the Local
21   Rules to his advantage. It is respectfully submitted that this is not the purpose of the
22   meet and confer requirement and is not a basis to deny Power Balance’s Motion.
23

24

25

26

27

28

                                               8
                     DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION TO STAY
Case 2:11-cv-00670-AG-RNB Document 24 Filed 03/07/11 Page 10 of 10 Page ID #:575



1    5.    Conclusion
2          For the reasons stated herein as well as in Power Balance’s moving papers,
3    Power Balance respectfully requests that the Court enter an order staying this action
4    pending the Court’s consideration of the settlement of the Batungbacal Action or,
5    alternately, pending resolution of the motions to transfer pending before the JPML.
6

7    Dated: March 7, 2011                  EAGAN AVENATTI, LLP
8

9
                                           By:         /s/ Michael J. Avenatti
10                                               Michael J. Avenatti
                                                 Attorneys for Defendants
11

12

13

14

15

16

17

18
19
20

21

22

23

24

25

26

27

28

                                               9
                     DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION TO STAY
